                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE MIDDLE DISTRICT OF TENNESSEE


MARY DOE #1, ON BEHALF OF                              )
HER MINOR CHILD, MARY DOE #2                           )
                                                       )
         PLAINTIFF,                                    )
                                                       )
V.                                                     )         Case No. _________________
                                                       )
METROPOLITAN GOVERNMENT                                )
OF NASHVILLE AND DAVIDSON                              )
COUNTY, TENNESSEE D/B/A                                )
METROPOLITAN NASHVILLE                                 )
PUBLIC SCHOOLS,                                        )
                                                       )
         DEFENDANT.                                    )

                                                   COMPLAINT

         Comes Plaintiff, Mary Doe #1 on behalf of her minor child, Mary Doe #2, and brings this

cause of action against Defendant, the Metropolitan Government of Nashville and Davidson

County, Tennessee D/B/A Metropolitan Nashville Public Schools for violations of Title IX of the

Education Amendments of 1972, 20 U.S.C. §§1681 et seq. and violations of 42 U.S.C. § 1983.



                                                     PARTIES

         1.       Mary Doe #11 is the Mother of her minor child Mary Doe #2 and is a resident of

Davidson County, Tennessee.

         2.       Mary Doe #2 is a minor child in the custody of Mary Doe #1 and is a resident of

Davidson County, Tennessee. At the time of the events described herein, Mary Doe #2 was a

14-year-old student in the ninth grade at Maplewood High School.

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 The names of the Plaintiffs have been withheld due to the sensitive nature of the subject matter of this action.
Instead, Plaintiffs’ pseudonyms have been used pursuant to Fed. R. Civ. P. 5.2(a)(3). While the parents. are not
minors, their names have also been withheld to protect the identity of the minor child. The identities of the Plaintiffs
will be provided to Defendant’s attorney upon request.

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         3.    Metropolitan Government of Nashville Davidson County Tennessee D/B/A

Metropolitan Nashville Public Schools is a governmental entity receiving state and federal funds

to operate the Metropolitan Nashville Public School System (hereinafter “Defendant”).



                               JURISDICTION AND VENUE

         4.    This Court has jurisdiction pursuant to Title IX of the Education Amendments of

1972, 20 U.S.C. §§1681 et seq., and 42 U.S.C. §1983.

         5.    Jurisdiction over the Defendant is proper as Defendant, through its school board,

operates the public schools for Davidson County, Tennessee, including Maplewood High School.

Defendant receives state and federal funding to operate Maplewood High School and is therefore

subject to Title IX of the Education Amendments of 1972, 20 U.S.C. §1681(a) and 42 U.S.C.

§1983.

         6.    Venue is proper in that the acts complained of occurred in the Middle District of

Tennessee, namely in Nashville, Tennessee at Maplewood High School.



                                             FACTS

    DEFENDANT’S OBLIGATIONS UNDER TITLE IX AND §1983

         7.    Defendant has an obligation under Title IX and the U.S. Constitution to prevent

the exclusion of female students from educational opportunities in the public-school system due

to sexual harassment and violence. The United States Department of Education’s Office for Civil

Rights (“OCR”) has issued guidance documents to Defendant, including “Dear Colleague”

letters, which explain a school’s obligations and responsibilities under Title IX. This guidance

also applies to a §1983 claim for equal protection in education based on gender.



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       8.        In particular, the guidance issued by the OCR includes a school’s obligation to do

the following:

                 a.     Appoint and train a Title IX coordinator and provide visibility to students

                        and parents of the availability of such coordinator.

                 b.     Adopt, publish, and provide notice to students and parents of grievance

                        procedures providing for the prompt and equitable resolution of student

                        sex discrimination complaints.

                 c.     Independently investigate complaints of sexual harassment or violence,

                        apart from any separate criminal investigation by local police.

                 d.     Establish appropriate disciplinary policies that do not have a chilling effect

                        on victims’ or other students’ reporting of sexual harassment.

                 e.     Notify the complainant of his or her options to avoid contact with the

                        alleged perpetrator(s) and allow the complainant to change academic and

                        extracurricular activities.

                 f.     Take proactive measures to eliminate a hostile environment and prevent

                        recurrence of any sexual harassment or violence.

                 g.     Provide age-appropriate training regarding Title IX, including training on

                        the school’s process for handling complaints.

       9.        At all times relevant hereto, Defendant was fully aware of its obligations under

Title IX, as the OCR documents were linked on the website of Metro Nashville Public Schools,

under the general heading of Policies and Procedures. These documents were attached as

Exhibits 1-4.




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        10.     Additionally, Defendant had further notice of its obligations under Title IX as

Defendant was previously sued in the case of Lopez v. Metropolitan Government of Nashville

and Davidson County, Case No. 3:07-CV-799, Middle District of Tennessee, Nashville Division,

for which a consent decree was entered in 2010.

NOTICE OF HOSTILE SEXUAL ENVIRONMENT

        11.     Prior to the incident at issue, the administration of Maplewood High School was

aware that students would engage in inappropriate behavior, including intimate interactions in

common areas of the school if left unsupervised.

        12.     Furthermore, the administration of Maplewood High School was aware that the

activity of videotaping sexual acts, unbeknownst to the female student involved, had previously

occurred in the Nashville public school system.

        13.     The practice of videotaping sexual acts was so widespread within the Defendant’s

school system that the students nicknamed the activity “exposing” the female victim, who was

thereafter ridiculed as a “slut” or “whore” as the videotape circulated within the school and on

the internet.

        14.     Accordingly, the Defendant was fully aware that such conduct was occurring and

would reoccur within its school system, and specifically at Maplewood High School without

intervention by the school system.

        15.     The training provided by Defendant to its employees was either inadequate, or

completely nonexistent, based on the failure of the Defendant to address the system-wide

prevalence of sexual harassment and bullying, known as “exposing,” that was occurring within

its school system.




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       16.       The inadequacy, or nonexistence, of such training was the result of the

Defendant’s deliberate indifference to the rights of its female students because the foreseeable

consequence of such inadequacy was a violation of students’ rights to educational opportunities.

       17.       The OCR’s “Dear Colleague” letter of April 4, 2011 states that during the 2007-

2008 school year alone, there were 800 reported incidents of rape or attempted rape and 3,800

reported incidents of sexual batteries at public high schools. See Exhibit 3. Defendant knew or

should have known of these statistics as it was a recipient of the April 4 letter. Based on such

statistics, it is foreseeable that the failure to train school staff on the proper handling of sexual

assault claims and/or harassment and/or cyber-bullying could result in the creation of a hostile

environment for female students and thus violate a student’s rights.



DESCRIPTION OF OCCURENCE

       18.       On or about September 21, 2016 Mary Doe #2, a 14-year old freshman, and

another 14-year old female freshman were involved in unwelcome sexual conduct with 18-year-

old male students in a stairway at Maplewood High School.

       19.       This incident was videotaped on the phone of one or more of the 18-year-old

male students.

       20.       The stairway was unsupervised which provided the opportunity for the

unwelcome sexual conduct to occur. The conduct occurred after the end of regular classes and

before an extracurricular activity at school.

       21.       The administration of Maplewood High School was aware of the risk that sexual

behavior, welcome or unwelcome, might occur if students were allowed to be in unattended and




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unsupervised areas of the school especially with younger girls in the presence of 18-year-old

men.

        22.    The principal and administration of Maplewood High School became aware of

inappropriate sexual behavior involving Mary Doe #2 when Mary Doe #1 notified the principal

and SRO that Mary Doe #2 had come home with hickeys on her neck and told Mary Doe #1 that

she had been involved in sexual activity in the stairway and that the conduct was unwelcome.

The school’s administration spoke to the Senior male students involved but otherwise failed to

provide any assistance to Mary Doe #1 and told her that Mary Doe #2 could simply return to

class the following day.

        23.    The administration became aware of the existence of the videotape in October of

2016 when the mother of the other 14-year-old freshman involved in the incident notified the

school. At that time, Mary Doe #2 reported to the office and acknowledged that she was the

other girl in the video. The administration simply sent Mary Doe #2 back to class without further

follow up or investigation. The administration did not call or otherwise inform Mary Doe #1 of

the incident or existence of the video, even though Mary Doe #1 had previously inquired if there

was a video tape, as Mary Doe #2 had been threatened with harassment of a video, and at that

time, the administration had told her that they had checked into it and no video was found.

Despite the knowledge that Mary Doe #2 had been threatened with the release of the video and

the knowledge that Mary Doe #1 had requested the school to verify the existence of the video,

the school never informed Mary Doe #1 that an actual video had surfaced at the school.

        24.    The Plaintiffs were not informed of any significant disciplinary action or

investigation that would be instituted by the school. Even when Mary Doe #1 reported ongoing

harassment, the school told her that she could not be informed of any investigation or



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punishment of other students. Therefore, Mary Doe #1 and Mary Doe #2 had no idea if their

complaints were followed up on by the school.

       25.     Even though the school administration was aware that students were circulating

the videotape, such students were not effectively disciplined to prevent this type of activity from

occurring and continuing. The administration did not expel or substantially punish any of the

individuals involved in the sexual conduct, the recording of the conduct, or in the circulation of

the involved video at the school and to the public at large. Per the principal, the male students

involved were 18-years-old at the time of the incident. In addition to the Title IX violation, the

age difference between the male students and the female students could be the basis for criminal

charges, and the video of the minor being circulated by the 18-year-old students the basis for

other criminal offenses.

       26.     After the incident, a police report may have been filed; however, the school

administration never conducted an independent investigation as required by Title IX.

       27.     According to the “Dear Colleague” letter of April 24, 2015, attached hereto as

Exhibit 4, Defendant is required to (1) notify students and employees of the name and contact

information of the Title IX coordinator, (2) include complete and current information about the

coordinator on its website. However, a named Title IX coordinator is not listed on Defendant’s

website, and Plaintiffs were never informed of Title IX requirements, nor put in touch with a

Title IX coordinator.

       28.     Defendant failed to adequately educate and inform the students at Maplewood

High School of the requirements of Title IX.




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       29.      Defendant further failed to adequately educate, warn, and properly discipline

students who engaged in sexual harassment and/or sexual cyber bullying to sufficiently

discourage the activity perpetrated on Mary Doe #2

       30.      The administration of Maplewood High School was aware that Mary Doe #2 was

subjected to the sexual activity and that the video was being disseminated; however, the

administration did not inform Mary Doe #1 of the incident, much less provide assurance that it

would not or could not happen again. In fact, no plan was discussed to prevent the activity from

occurring or continuing. The administration treated the incident as a normal occurrence and sent

Mary Doe #2 back to class.

       31.      The administration of Hunters Lane High School failed to adequately address the

issues of harassment and cyber bullying, thereby preventing female students from obtaining an

equal education in a safe environment.

       32.      Mary Doe #2 has had significant academic difficulty due to the emotional strain

involved with the sexual activity, video threats, release of the video, and ongoing harassment due

to these events. Mary Doe #2 failed one subject and her other grades dropped significantly.

Defendant failed to take steps to alleviate the harassment or to ensure that Mary Doe #2 could

obtain her education free of the strain of ongoing harassment. When Mary Doe #1 contacted the

school regarding the ongoing harassment, she was told that the school could not inform her of

any investigation or any punishment of those involved.

       33.      Mary Doe #2 has received counseling from her pastor and is expected to receive

medical care in the future as a result of the physical and mental trauma from both the activity and

the school’s response to the reported activity.




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        34.    Upon information and belief, the videotape of the incident continues to circulate

in the Defendant’s school system and on the internet.

        35.    Mary Doe #2 is aware that the videotape of the incident continues to circulate in

the Defendant’s school system and on the internet, causing Mary Doe #2 severe emotional

distress.

        36.    Mary Doe #2’s injuries were closely related to or actually caused by the

Defendant’s failure to comply with Title IX by failing to adequately train its employees to

prevent such sexual harassment in the first instance and, if occurring, to investigate and mitigate

ongoing harassment.

        37.    If the administration of Maplewood High School had been properly trained to

comply with Title IX, and had followed its requirements by conducting an independent

investigation, adequately disciplining the students involved, taking effective steps to prevent the

creation of a hostile environment in the first place, by properly addressing the widespread

practice of “exposing,” and taking necessary measures to curtail the circulation of the video after

the incident, Mary Doe #2 would not have suffered the injuries endured.



                                      CAUSES OF ACTION

               COUNT I – VIOLATION OF TITLE IX BEFORE INCIDENT

        38.    Plaintiff asserts that the conduct set forth above, in paragraphs 1-37, constitutes a

violation of Title IX of the Education Act of 1972, 20 U.S.C.§1681(a) et seq.

        39.    Plaintiff asserts that Defendant failed to comply with Title IX through deliberate

indifference and the clearly unreasonable acts and omissions that created a hostile sexual




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environment to female students before the instance of unwelcome sexual conduct to Mary Doe

#2.

        40.   Defendant failed to comply with Title IX before the incident at issue occurred by:

              a.     Failing to adequately train its employees of the requirements of Title IX.

              b.     Failing to educate students about Title IX.

              c.     Failing to inform students of the ramifications for engaging in conduct that

                     violated Title IX.

              d.     Permitting inappropriate sexual conduct between students to occur in the

                     presence of school staff.

              e.     Creating an environment that enabled sexual conduct to occur by allowing

                     stairways to remain unsupervised.

              f.     Failing to take appropriate action to address and curtail the system-wide

                     practice of “exposing” individuals through malicious harassment and

                     bullying, even though the Defendant was fully aware that such activity

                     was occurring in its school system.

              g.     Failing to adequately discipline students engaged in behavior that creates a

                     discriminatory and hostile environment for female students.

              h.     Failing to educate, warn, and discipline students for recording and

                     circulating videos of sexual acts involving other students.

        41.   Had the Defendant complied with Title IX before the incident occurred, the

complained of harassment and/or unwelcome sexual activity would have been prevented.

              COUNT II – VIOLATION OF TITLE IX AFTER INCIDENT




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       42.     Plaintiff asserts that the conduct set forth above, in paragraphs 1-37, constitutes a

violation of Title IX of the Education Act of 1972, 20 U.S.C.§1681(a) et seq.

       43.     Mary Doe #2 was subjected to student-on-student sex-based harassment, that was

so severe, pervasive, and objectively offensive that it created a hostile educational environment

and deprived Mary Doe #2 of educational opportunities and benefits provided by the school.

       44.     Plaintiff alleges that Defendant had actual knowledge of (1) the sexual assault and

(2) the continuing harassment, but failed to promptly and appropriately respond, instead acting

with deliberate indifference.

       45.     Defendant’s policies discourage sexual assault victims from coming forward and

have a disparate impact on female students, further demonstrating deliberate indifference.

       46.     Plaintiff asserts that Defendant failed to comply with Title IX through deliberate

indifference and a clearly unreasonable response after unwelcome sexual conduct occurred that

created an environment of continued harassment.

       47.     Defendant violated Title IX after the incident at issue occurred by:

               a.      Failing to inform Plaintiff of the requirements of Title IX.

               b.      Failing to inform Plaintiff of the existence of a Title IX coordinator.

               c.      Failing to conduct a Title IX investigation separate and apart from the

                       criminal investigation.

               d.      Failing to assure Mary Doe #2 the behavior would not reoccur.

               e.      Failing to adequately punish the students who engaged in the unwelcome

                       sexual activity.

               f.      Failing to adequately punish the students who recorded and circulated the

                       videotape of the unwelcome sexual activity.



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              g.      Failing to adequately punish or deter all students from circulating the

                      videotape of the sexual activity.

              h.      Failing to exercise control over the alleged harassment.

              i.      Failing to take adequate steps to allow the Plaintiff to complete her

                      education in a safe environment free of sexual harassment and ridicule.

              j.      Failing to prepare or implement a plan to permit Mary Doe #2 to continue

                      her education in the public-school system without fear of ongoing

                      harassment and ridicule.

       48.    Compliance with Title IX after the incident occurred would have prevented the

continued harassment and ridicule, which ultimately resulted in the dramatic decline in Mary

Doe #2’s grades, including the failing of one class, which will remain on her permanent

academic record.

          COUNT III – VIOLATION OF 42 U.S.C. § 1983 FAILURE TO TRAIN

       49.    Plaintiff asserts that the conduct set forth above, in paragraphs 1-37, constitutes a

violation of 42 U.S.C. § 1983, which resulted in the dramatic decline in Mary Doe #2’s grades,

including the failing of one class. Both the academic decline, which is noted on her permanent

academic record, as well as the mental stress she has suffered, were caused by Defendant’s

conduct as complained of above.

       50.    Plaintiff asserts that the Defendant violated the equal protection clause of the

Fourteenth Amendment of the U.S. Constitution by failing to train its employees on the proper

handling of complaints of sexual assault and harassment.

       51.    The training provided by Defendant to its employees was either inadequate, or

completely nonexistent, based on the failure of the Defendant to address the system-wide


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prevalence of known severe, pervasive, and objectively offensive sexual harassment and

bullying, known as “exposing,” that was occurring within its school system.

        52.    The training provided by Defendant to its employees was either inadequate, or

completely nonexistent, based on the utter failure of the Maplewood High School administration

to comply with Title IX requirements in response to the incident involving Mary Doe #2.

        53.    The inadequacy, or nonexistence, of such training was the result of the

Defendant’s deliberate indifference to the rights of its female students because the foreseeable

consequence of such inadequacy was a violation of students’ equal protection rights.

        54.    Based on the statistics contained in the OCR’s April 4, 2011 letter, as outlined in

paragraph 18 above, of which Defendants were on notice, it is foreseeable that the failure to train

school staff on the proper handling of sexual assault claims could result in the creation of a

hostile environment for female students and thus violate a student’s equal protection rights.

        55.    Mary Doe #2’s injuries were closely related to or actually caused by the

Defendant’s failure to adequately train its employees.

        56.    If the principal and administration of Maplewood High School had been properly

trained to comply with Title IX, and had followed its requirements by conducting an independent

investigation, adequately disciplining the students involved, taking effective steps to prevent the

creation of a hostile environment in the first place by properly addressing the widespread

practice of “exposing,” and taking necessary measures to curtail the circulation of the video after

the incident, Mary Doe #2 would not have suffered the injuries endured.

     COUNT IV – VIOLATION OF 42 U.S.C. § 1983 DELIBERATE INDIFFERENCE TO
                          ONGOING HARASSMENT

        57.    Plaintiff asserts that the conduct set forth above, in paragraphs 1-37, constitutes a

violation of 42 U.S.C. § 1983.

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         58.    Plaintiff asserts that the Defendant violated the equal protection clause of the

Fourteenth Amendment of the U.S. Constitution by its inadequate response to the incident and its

deliberate indifference to the ongoing harassment, which resulted in the dramatic decline in Mary

Doe #2’s grades, including the failing of one class. Both the academic decline, which is noted on

her permanent academic record, as well as the mental stress she has suffered, were caused by

Defendant’s conduct as complained of above.



                                              DAMAGES

         59.    As a result of the Defendant’s acts and omissions as set forth above, Mary Doe #2

has suffered both physical and emotional injuries, including severe humiliation, embarrassment,

loss of enjoyment of life, and loss of educational opportunity.

         60.    Plaintiffs therefore seeks damages for past and future medical expenses, past and

future pain and suffering, past and future emotional injuries, including severe humiliation and

embarrassment, past and future loss of enjoyment of life, past and future loss of educational

opportunity, and all other damages available for violations of Title IX and 42 U.S.C. § 1983,

including punitive damages to deter future noncompliance.



                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs prays for relief as follows:

         1.     That process issue requiring the Defendant to answer within the time provided by

law;

         2.     An award of all damages available under Title IX, including but not limited to,

payment of Mary Doe #2’s expenses incurred as a consequence of the Title IX violations,



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damages for deprivation of equal access to the educational benefits and opportunities provided

by the Defendant, and damages for past, present, and future physical and emotional pain and

suffering, ongoing and severe mental anguish, and loss of past, present, and future enjoyment of

life, in the amount of $3,000,000.00;

       3.      An award of punitive damages pursuant to 42 U.S.C. § 1983.

       4.      Injunctive relief requiring Defendant to comply with the requirements of Title IX

as outlined in the OCR’s “Dear Colleague” letters, attached as Exhibits 1-4 to the original

Complaint.

       5.      Reasonable attorney’s fees pursuant to 42 U.S.C. §1988 (b) and/or other statutory

authority;

       6.      Such further relief that this Court deems proper to enforce Title IX in the

Nashville Metropolitan Public-School District.




                                            Respectfully Submitted,



                                             s/ Stephen Crofford
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